Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 1 of 35 PageID #: 224



                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TEXAS
                          MARSHALL DIVISION

EVS CODEC TECHNOLOGIES, LLC and §
SAINT LAWRENCE COMMUNICATIONS, §
LLC,
                                §
          Plaintiffs,           §
                                           Case No. 2:18-cv-00346
                                §
     v.                         §
                                §          JURY TRIAL DEMANDED
HUAWEI DEVICE USA, INC., HUAWEI §
DEVICE (SHENZEN) CO., LTD., and
HUAWEI DEVICE (DONGGUAN) CO.,   §
LTD.                            §
                                §
          Defendants.           §



       SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 2 of 35 PageID #: 225



       Plaintiffs EVS Codec Technologies, LLC (“ECT”) and Saint Lawrence Communications,

LLC (“SLC”) (collectively “Plaintiffs”) hereby submit this Complaint for patent infringement

against Defendants Huawei Device USA, Inc. (“Huawei USA”), Huawei Device (Shenzen) Co.,

Ltd. (“Huawei Shenzen”), and Huawei Device (Dongguan) Co., Ltd. (“Huawei Dongguan”)

(collectively “Huawei” or “Defendants”) and state as follows:

                                        THE PARTIES

       1.     ECT is a Texas limited liability company with a principal place of business at 2323

S. Shepherd, 14th floor, Houston, Texas 77019-7024.

       2.     SLC is a Texas limited liability company, having a principal place of business at

6136 Frisco Square Blvd., Suite 400, Frisco, Texas 75034.

       3.     On information and belief, Defendant Huawei USA is a Texas corporation having

a regular and established principal place of business at 5700 Tennyson Parkway, Suite 300, Plano,

Texas 75024. Huawei USA may be served through its registered agent, CT Corporation System,

at 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

       4.     On information and belief, Defendant Huawei Device (Shenzen) Co., Ltd. is a

Chinese corporation having a principal place of business in Bantian, Longgang District, Shenzhen,

518129, China.

       5.     On information and belief, Defendant Huawei Device (Dongguan) Co., Ltd. is a

Chinese corporation having a principal place of business in Nanfang Factory B2-5, No. 2 Xincheng

Road, Songshan Lake Science and Technology Industrial Zone, Dongguan, Guangdong, China

523808.




                                               1
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 3 of 35 PageID #: 226



                                  JURISDICTION AND VENUE

        6.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1338(a) because this action arises under the patent laws of the United States, 35 U.S.C. §§ 101 et

seq.

        7.       Huawei is in the business of supplying mobile devices, such as smartphones and

tablets, in the United States.

        8.       Huawei has solicited business in the State of Texas, transacted business within the

State of Texas and attempted to derive financial benefit from residents of the State of Texas,

including benefits directly related to the instant patent infringement cause of action set forth herein.

        9.       Huawei has made, used, sold, offered for sale, and/or imported mobile phones and

tablets and/or has placed such phones and tablets into the stream of commerce, which phones and

tablets have been offered for sale, sold, and/or used in the State of Texas and this judicial district.

        10.      At the time of filing of this Complaint, Huawei’s mobile phones and tablets are

available for purchase by consumers in Texas, including within this judicial district.

        11.      On information and belief, Huawei has made, used, sold, offered for sale, and/or

imported wireless mobile communication devices that are alleged herein to infringe one or more

of the patents set forth herein, and/or has placed such devices into the stream of commerce, which

devices have been made, offered for sale, sold, and/or used in the State of Texas and within this

judicial district.

        12.      Huawei sells products in this judicial district that are accused of infringement in

this Complaint.

        13.      Huawei USA is subject to personal jurisdiction in Texas and in this judicial district.




                                                   2
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 4 of 35 PageID #: 227



        14.     Huawei China is subject to personal jurisdiction in Texas and in this judicial

district.

        15.     Huawei is subject to personal jurisdiction under the provisions of the Texas Long

Arm Statute, TX CIV. PRAC. & REM CODE § 17.041 et seq., by virtue of the fact that, upon

information and belief, Huawei has availed itself of the privilege of conducting and soliciting

business within this State, including engaging in at least some of the infringing activities in this

State, as well as by others acting as Huawei’s agents and/or representatives, such that it would be

reasonable for this Court to exercise jurisdiction consistent with principles underlying the U.S.

Constitution, and the exercise of jurisdiction by this Court would not offend traditional notions of

fair play and substantial justice.

        16.     On information and belief, Huawei has also established minimum contacts with this

judicial district and regularly transacts and does business within this district, including advertising,

promoting and selling products over the internet, through intermediaries, representatives and/or

agents located within this judicial district, that infringe the asserted patents, which products are

then sold and/or shipped directly to citizens residing within this State and in this judicial district.

Upon further information and belief, Huawei has purposefully directed activities at citizens of this

State including those located within this judicial district.

        17.     On information and belief, Huawei has purposefully and voluntarily placed its

products into the stream of commerce with the expectation that they will be purchased and used

by customers located in the State of Texas and the Eastern District of Texas. On information and

belief, Huawei’s customers in the Eastern District of Texas have purchased and used and continue

to purchase and use Huawei’s products.




                                                   3
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 5 of 35 PageID #: 228



           18.     Huawei USA maintains offices at 5700 Tennyson Parkway, Suite 300, Plano, Texas

75024.

           19.     Venue as to Huawei Shenzen and Huawei Dongguan, foreign corporations, is

proper in this judicial district under 28 U.S.C. §§1391(b)-(d) and 1400(b).

           20.     Venue as to Huawei USA is proper in this judicial district under 28 U.S.C.

§§1391(b)-(c) and 1400(b) at least because Huawei USA is a Texas corporation with a principal

place of business and its registered office located in this judicial district.

           21.     Venue is proper in this federal judicial district pursuant to 28 U.S.C. §§1391(b)-(c)

and 1400(b) in that Defendants have done business in this District, have committed acts of

infringement in this District, and continue to commit acts of infringement in this District, entitling

Plaintiffs to relief.

                                                  SUMMARY

           22.     VoiceAge Corporation (“VoiceAge”), the original assignee of the Patents-in-Suit,

has been a pioneer in speech and audio compression technologies since its creation in 1999.

VoiceAge is widely recognized as the world’s leader in developing cutting-edge technologies for

wideband, low bit rate speech and audio compression. 1                 For example, VoiceAge has provided

technology to the winning codec candidate in at least nineteen international speech and audio

standards-based codecs, including standards promulgated by the Third Generation Partnership

Project (“3GPP”), 3GPP2, the International Telecommunications Union (“ITU”), the European

Telecommunications Standards Institute (“ETSI”), and the Motion Picture Experts Group

(“MPEG”) of the International Organization for Standardization (“ISO”).




1
    VoiceAge was also a leader in narrow-band codecs and innovation.


                                                         4
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 6 of 35 PageID #: 229



       23.       One of the international standards that includes the patented technologies of

VoiceAge is the Enhanced Voice Services (“EVS”) Codec which, among other features, enables

vastly improved voice quality, network capacity and advanced features for voice services over

Long Term Evolution (“LTE” or “4G”) networks. The EVS Codec was designed to meet the

demands of packet-switched mobile communications networks and was developed and

standardized under the lead of the 3GPP Codec Working Group, 3GPP TSG SA WG4.

       24.       The technical features of the EVS Codec are set forth by 3GPP in the EVS Standard

as set forth, for example, in 3GPP TS 26.441 through 3GPP TS 26.451 and 3GPP TS 26.114.

       25.       The standardized EVS Codec serves a variety of important, growing markets and

applications including, but not limited to, high-definition voice services plus (“HD Voice+”) in

wireless telephony, content for media audio, and mobile voice over internet protocol (“VoIP”).

       26.       The EVS Codec is also referred to as Ultra HD Voice.

       27.       The EVS Codec is designed for high quality and efficient coding of speech, music

and mixed content.

       28.       The EVS Codec offers numerous benefits to the users. These include, but are not

limited to, the following:

             •    It delivers higher quality, higher frame/packet error resilience, and higher
                  compression efficiency than previous speech codecs, leading to an improved user
                  experience and system efficiency;
             •    It increases the voice capacity with same or even better quality than HD Voice;
             •    It enhances the voice and music quality with the same capacity;
             •    It can be used for high quality music services; and
             •    It provides improved telecom grade quality and capacity tradeoff.

       29.       Huawei is aware of the benefits of EVS. Huawei published a paper titled “Full HD

Voice” on October 2014 (“Huawei Paper”).




                                                 5
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 7 of 35 PageID #: 230



          30.       Huawei itself concedes that:

                •   “The EVS Codec represents a huge improvement in terms of speech/audio quality
                    and functionality when compared to existing conversational (low delay) codecs.
                    For the first time a 3GPP conversational codec will combine high quality speech
                    and music performance across four bandwidths; Narrowband (NB = 200 - 4000
                    Hz), Wideband (WB = 50 – 8000 Hz), Superwideband (SWB = 50 – 16000 Hz)
                    and Fullband (FB = 50 – 20000 Hz). This level of performance exceeds that of all
                    existing 3GPP codecs and in particular the AMR-WB codec which led to the
                    creation of the GSMA HD Voice Logo which has been successful in encouraging
                    the deployment of AMR-WB services.” See Huawei Paper at 1.
                •   The EVS Codec is “able to compete directly in over-the-top VoIP applications with
                    codecs such as the recently introduced OPUS. Both fixed point and floating point
                    versions of EVS make it suitable for low power devices and PC’s.” See Huawei
                    Paper at 1.

          31.       Mobile networks in the United States have deployed the EVS Codec. For example,

T-Mobile launched the EVS Codec on its networks starting at least in 2016. On information and

belief, Verizon also has EVS functionality in its network.

          32.       The EVS Standardized codec serves a variety of important, growing markets and

applications including, but not limited to, high-definition voice services (“HD Voice+”) for LTE

mobile terminals. 2 Indeed, a mobile device that is “HD Voice+” capable must support the EVS

Codec. 3

          33.       As part of its development of the new and improved methods and systems for

processing speech signals, VoiceAge was awarded a number of patents including U.S. Patent Nos.

6,795,805; 6,807,524; 7,151,802; 7,260,521; 7,191,123 (collectively, “Patents-in-Suit”).

          34.       This Court is familiar with the Patents-in-Suit, and has presided over several

litigations involving the Patents-in-Suit, including Saint Lawrence Communications LLC v. Apple

Inc., et al; Case No. 2:16-cv-00082-JRG; Saint Lawrence Communications LLC v. ZTE

Corporation, et al; Case No. 2:15-cv-00349-JRG; Saint Lawrence Communications LLC v. HTC


2
    https://www.gsma.com/futurenetworks/wp-content/uploads/2013/04/Annex-H-Version-1.0.pdf
3
    Id.


                                                      6
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 8 of 35 PageID #: 231



Corporation, et al; Case No. 2:15-cv-00919-JRG; HTC Corporation, et al v. Acacia Research

Corporation, et al; Case No. 2:15-cv-01510-JRG; and Saint Lawrence Communications LLC v.

LG Electronics, Inc., et al; Case No. 2:14-cv-01055-JRG.

       35.       This Court is currently presiding over several pending cases involving the Patents-

in-Suit: EVS Codec Technologies, LLC v. LG Electronics, Inc., et al.; Case No. 2:18-cv-00343-

JRG; EVS Codec Technologies, LLC and Saint Lawrence Communications, LLC v. OnePlus

Technology (Shenzen) Co., Ltd and T-Mobile USA, Inc.; Case No. 2:19-cv-00057-JRG; and Saint

Lawrence Communications, LLC v. Amazon.com, Inc.; Case No. 2:19-cv-00027-JRG.

       36.       This Court has issued two Markman opinions (Saint Lawrence Communications

LLC v. ZTE Corporation, et al; Case No. 2:15-cv-00349-JRG, Dkt. 236 and Saint Lawrence

Communications LLC v. Apple Inc., et al; Case No. 2:16-cv-00082-JRG, Dkts. 95 and 170) relating

to the Patents-in-Suit and presided over a jury trial (Saint Lawrence Communications LLC v.

Motorola Mobility LLC; Case No. 2:15-cv-00351-JRG) relating to the Patents-in-Suit.

       37.       Huawei was aware of the Patents-in-Suit prior to the filing of this Complaint, at

least including through the following:

             •   prior licensing discussions between Huawei and St. Lawrence Communications,

                 LLC (“St. Lawrence”);

             •   public information about these patents, the EVS Standard, and licensing of these

                 patents; and

             •   lawsuits in Germany against Deutsche Telekom and Vodafone filed by an affiliate

                 of St. Lawrence (St. Lawrence Communications GmbH).

       38.       The allegations in this complaint are made subject to the provisions of any prior

license, and do not encompass licensed activity.




                                                   7
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 9 of 35 PageID #: 232



       39.     Huawei is not licensed to the patents asserted in this Complaint with respect to the

use of the EVS Codec, yet Huawei knowingly, actively, and lucratively practices and induces

others to practice the patents with respect to the EVS Codec.

               COUNT I: INFRINGEMENT OF U.S. PATENT NO. 6,795,805

       40.     On September 21, 2004, the United States Patent and Trademark Office (“USPTO”)

duly and legally issued United States Patent No. 6,795,805 (“the ‘805 Patent”), entitled

“Periodicity Enhancement in Decoding Wideband Signals.” ECT is the exclusive licensee of the

‘805 Patent, as it has been granted the exclusive right to license products practicing the EVS

Standard to the ‘805 Patent for an unlimited duration, has the right to practice the EVS Standard,

has the right to exclude others from making, selling, offering to sell, using or importing products

that practice the ‘805 Patent, and has the right to sue for and collect past, present and future

damages for infringement of the ‘805 Patent with respect to the EVS Standard. As such, Huawei’s

infringement described below has injured, and continues to injure, ECT.

       41.     As alleged above, Huawei had actual notice of the ‘805 Patent and of its

infringement of that patent.

       42.     Upon information and belief, Huawei has infringed directly and continues to

infringe directly the ’805 Patent.     The infringing acts include, but are not limited to, the

manufacture, use, sale, importation, and/or offer for sale of products containing the EVS Codec

and/or practicing the EVS Standard in the United States (“Huawei EVS Products”).

       43.     Huawei EVS Products include any Huawei Product that contains the EVS Codec,

including at least the Huawei Ultra HD Voice (or HD Voice+) capable products manufactured,

used, imported, offered for sale, and/or sold in the United States including, but not limited to, the

following: Huawei Mate 9, Huawei Mate 9 Pro, Porsche Design Huawei Mate 9, Porsche Design




                                                 8
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 10 of 35 PageID #: 233



Huawei Mate 10, Huawei Mate 10 Pro, Huawei Mate 20, Huawei Mate 20X, Huawei Mate 20 Pro,

Porsche Design Huawei Mate 20 RS, Huawei P10, Huawei P10 Premium Edition, Huawei P10

Plus, Huawei P10 Plus Premium Edition, Huawei P20, Huawei P20 Pro, Porsche Design Huawei

Mate RS, Huawei MediaPad M5 8.4 inch, Huawei MediaPad M5 10.8 inch, Huawei MediaPad

M5 Pro, Huawei Elate, Huawei Ascend XT, Huawei Sensa LTE, Huawei Y7 Prime, Huawei Y7,

Huawei Y6, Huawei Y6 Prime, Huawei Y6 Pro, Huawei Y7 Prime, Huawei Y7 Pro, Huawei Mate

X, Huawei Nova 4, Huawei Enjoy 9, Huawei Nova 3, Huawei Y5 Lite, and any Huawei products

that contain the EVS Codec including, but not limited to, Huawei phones containing the HiSilicon

Kirin 960 System-on-Chip (“SOC”), the HiSilicon Kirin 970 SOC, HiSilicon Kirin 980 SOC,

Qualcomm Snapdragon X6 LTE Modem, the Qualcomm Snapdragon X9 LTE Modem, Qualcomm

Snapdragon X12 LTE Modem, the Qualcomm Snapdragon X15 LTE Modem, the Qualcomm

Snapdragon X16 LTE Modem, the Qualcomm Snapdragon X20 LTE Modem, the Qualcomm

Snapdragon X24 LTE Modem, or MediaTek 4G LTE modems or WorldMode Modems (used for

example, in MediaTek Helio X30, MT6595, MT8785, MediaTek Helio P23, MediaTek Helio X27,

MediaTek Helio X25, MediaTek Helio X23, MediaTek Helio X20, MediaTek Helio X10,

MediaTek Helio P60, MediaTek Helio P30, MediaTek Helio P23, MediaTek Helio P22, MediaTek

Helio A22, MT6573, MT6752, MT6750, MT6739, MT6738, MT6737T, MT6737, MT6735,

MT6732, MT6595, MT6592).

       44.     On information and belief, these products are among the larger range of Huawei

EVS Products, each of which practices and/or is capable of practicing the ‘805 Patent.

       45.     For example, the Huawei EVS Products practice and/or are capable of practicing at

least representative claim 3 of U.S. Patent No. 6,795,805.




                                                9
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 11 of 35 PageID #: 234



          46.   Claim 3 of the ‘805 Patent discloses a device for enhancing periodicity of an

excitation signal produced in relation to a pitch codevector and an innovative codevector for

supplying a signal synthesis filter in view of synthesizing a wideband speech signal, said

periodicity enhancing device comprising a factor generator for calculating a periodicity factor

related to the wideband speech signal; and an innovation filter for filtering the innovative

codevector in relation to said periodicity factor to thereby reduce energy of a low frequency portion

of the innovative codevector and enhance periodicity of a low frequency portion of the excitation

signal. Claim 3 further discloses that the innovation filter has a transfer function of the form F(z)

= -αz + 1 – αz-1 where α is a periodicity factor derived from a level of periodicity of the excitation

signal.

          47.   Each of the Huawei EVS Products includes the EVS Codec, which comprises the

disclosed device for enhancing periodicity of representative Claim 3 of the ‘805 Patent.

          48.   The EVS Codec in the Huawei EVS Products complies with the EVS Standard.

          49.   The EVS Codec processes a speech signal sampled at approximately 16,000

samples/second (i.e., a wideband signal). [See, e.g., Ex. A (3GPP TS 26.445/ETSI TS 126.445), at

Table 19].

          50.   The EVS Standard includes devices for enhancing periodicity of an excitation

signal produced in relation to a pitch codevector and an innovative codevector for supplying a

signal synthesis filter in view of synthesizing a wideband speech signal. [See, e.g., Ex. A, at

sections 1, 4.2, 4.2, 6.1.1, 6.1.3 and corresponding portions of the EVS Reference Code (3GPP TS

26.442)].

          51.   The periodicity enhancing device of the EVS Standard comprises a factor generator

for calculating a periodicity factor related to the wideband speech signal. [See, e.g., Ex. A, at




                                                 10
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 12 of 35 PageID #: 235



sections 6.1.1.3.2, 6.1.1.3.3 and corresponding portions of the EVS Reference Code]. The

periodicity enhancing device of the EVS Standard also comprises an innovation filter for filtering

the innovative codevector in relation to said periodicity factor to thereby reduce energy of a low

frequency portion of the innovative codevector and enhance periodicity of a low frequency portion

of the excitation signal. [See, e.g., Ex. A, at section 6.1.1.3.3, and corresponding portions of the

EVS Reference Code].

          52.      Further, in the EVS Standard, the innovation filter has a transfer function of the

form F(z) = -αz + 1 – αz-1 where α is a periodicity factor derived from a level of periodicity of the

excitation signal. [See, e.g., Ex. A, at section 6.1.1.3.3, and corresponding portions of the EVS

Reference Code].

          53.      In addition to its direct infringement, Huawei has been and is now indirectly

infringing by way of inducing infringement and/or contributing to the infringement of the claims

of the ‘805 Patent in the State of Texas, in this judicial district, and elsewhere within the United

States by, among other things, making, using, licensing, selling, offering for sale, or importing

infringing Huawei EVS Products, covered by one or more claims of the ‘805 Patent, all to the

injury of Plaintiffs. In the case of such infringement, the users of the Huawei EVS Products are

the direct infringers of the ‘805 Patent. Huawei advertises and promotes its Huawei EVS Products

on its website. 4 Huawei provides, makes, uses, licenses, sells, and offers its Huawei EVS Products

for sale with the specific intent that its customers use those phones in an infringing manner. Huawei

sells or offers to sell its Huawei EVS Products for use in practicing the processes patented by the

‘805 Patent. The EVS Codec has no substantial non-infringing uses and is known by Huawei to

be especially made or especially adapted for use in an infringement of the ‘805 Patent by



4
    See, e.g., https://consumer.huawei.com/en/support/phones/.


                                                         11
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 13 of 35 PageID #: 236



complying with the EVS Standard. Huawei’s acts of infringement have been willful, deliberate,

and in reckless disregard of Plaintiffs’ patent rights.

        54.    The acts of infringement by Defendants have caused damage to Plaintiffs, and ECT

is entitled to recover from Defendants the damages sustained by Plaintiffs as a result of

Defendants’ wrongful acts in an amount subject to proof at trial. The infringement of ECT’s

exclusive rights under the ’805 Patent by Defendants has damaged and will continue to damage

Plaintiffs.

        55.    Upon information and belief, Defendants actually knew of, or were willfully blind

to, the existence of the ’805 Patent, yet Defendants continue to infringe said patent. The

infringement of the ’805 Patent by Defendants is willful and deliberate, and with full knowledge

of the patent, entitling ECT to increased damages under 35 U.S.C. § 284 and to attorneys’ fees and

costs incurred in prosecuting this action under 35 U.S.C. § 285.

                 COUNT II: INFRINGEMENT OF U.S. PATENT NO. 6,807,524

        56.    On October 19, 2004, the USPTO duly and legally issued United States Patent No.

6,807,524 (“the ’524 Patent”), entitled “Perceptual Weighting Device and Method for Efficient

Coding of Wideband Signals.” SLC is the owner of the ‘524 Patent. ECT is the exclusive licensee

of the ‘524 Patent, as it has been granted the exclusive right to license products practicing the EVS

Standard to the ‘524 Patent for an unlimited duration, has the right to practice the EVS Standard,

has the right to exclude others from making, selling, offering to sell, using or importing products

that practice the ‘524 Patent, and has the right to sue for and collect past, present and future

damages for infringement of the ‘524 Patent with respect to the EVS Standard. As such, Huawei’s

infringement described below has injured, and continues to injure, ECT.




                                                  12
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 14 of 35 PageID #: 237



          57.   As alleged above, Huawei had actual notice of the ‘524 Patent and of its

infringement of that patent.

          58.   Upon information and belief, Huawei has infringed directly and continues to

infringe directly the ’524 Patent.     The infringing acts include, but are not limited to, the

manufacture, use, sale, importation, and/or offer for sale of the Huawei EVS Products in the United

States.

          59.   Huawei EVS Products include any Huawei Product that contains the EVS Codec,

including at least the Huawei Ultra HD Voice (or HD Voice+) capable products manufactured,

used, imported, offered for sale, and/or sold in the United States including, but not limited to, the

following: Huawei Mate 9, Huawei Mate 9 Pro, Porsche Design Huawei Mate 9, Porsche Design

Huawei Mate 10, Huawei Mate 10 Pro, Huawei Mate 20, Huawei Mate 20X, Huawei Mate 20 Pro,

Porsche Design Huawei Mate 20 RS, Huawei P10, Huawei P10 Premium Edition, Huawei P10

Plus, Huawei P10 Plus Premium Edition, Huawei P20, Huawei P20 Pro, Porsche Design Huawei

Mate RS, Huawei MediaPad M5 8.4 inch, Huawei MediaPad M5 10.8 inch, Huawei MediaPad

M5 Pro, Huawei Elate, Huawei Ascend XT, Huawei Sensa LTE, Huawei Y7 Prime, Huawei Y7,

Huawei Y6, Huawei Y6 Prime, Huawei Y6 Pro, Huawei Y7 Prime, Huawei Y7 Pro, Huawei Mate

X, Huawei Nova 4, Huawei Enjoy 9, Huawei Nova 3, Huawei Y5 Lite, and any Huawei products

that contain the EVS Codec including, but not limited to, Huawei phones containing the HiSilicon

Kirin 960 System-on-Chip (“SOC”), the HiSilicon Kirin 970 SOC, HiSilicon Kirin 980 SOC,

Qualcomm Snapdragon X6 LTE Modem, the Qualcomm Snapdragon X9 LTE Modem, Qualcomm

Snapdragon X12 LTE Modem, the Qualcomm Snapdragon X15 LTE Modem, the Qualcomm

Snapdragon X16 LTE Modem, the Qualcomm Snapdragon X20 LTE Modem, the Qualcomm

Snapdragon X24 LTE Modem, or MediaTek 4G LTE modems or WorldMode Modems (used for




                                                 13
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 15 of 35 PageID #: 238



example, in MediaTek Helio X30, MT6595, MT8785, MediaTek Helio P23, MediaTek Helio X27,

MediaTek Helio X25, MediaTek Helio X23, MediaTek Helio X20, MediaTek Helio X10,

MediaTek Helio P60, MediaTek Helio P30, MediaTek Helio P23, MediaTek Helio P22, MediaTek

Helio A22, MT6573, MT6752, MT6750, MT6739, MT6738, MT6737T, MT6737, MT6735,

MT6732, MT6595, MT6592).

       60.     On information and belief, these products are among the larger range of Huawei

EVS Products, each of which practices and/or is capable of practicing the ‘524 Patent.

       61.     For example, the Huawei EVS Products practice and/or are capable of practicing at

least representative claim 4 of U.S. Patent No. 6,807,524.

       62.     Claim 4 of the ‘524 Patent discloses a perceptual weighting device for producing a

perceptually weighted signal in response to a wideband speech signal in order to reduce a

difference between the wideband speech signal and a subsequently synthesized wideband speech

signal, said perceptual weighting device comprising: (a) a signal preemphasis filter responsive to

the wideband speech signal for enhancing a high frequency content of the wideband speech signal

to thereby produce a preemphasised signal; (b) a synthesis filter calculator responsive to said

preemphasised signal for producing synthesis filter coefficients; and (c) a perceptual weighting

filter, responsive to said preemphasised signal and said synthesis filter coefficients, for filtering

said preemphasised signal in relation to said synthesis filter coefficients to thereby produce said

perceptually weighted signal, said perceptual weighting filter having a transfer function with fixed

denominator whereby weighting of said wideband speech signal in a formant region is

substantially decoupled from a spectral tilt of said wideband speech signal. Claim 4 further

discloses that said signal preemphasis filter has a transfer function of the form P(z) = 1 – µz-1,

where µ is a preemphasis factor having a value located between 0 and 1, and said perceptual




                                                 14
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 16 of 35 PageID #: 239



weighting filter has a transfer function of the form W(z) = A(z/γ1)/(1 – γ2z-1), where 0 < γ2 < γ1 ≤

1 and γ2 and γ1 are weighting control values.

       63.     Each of the Huawei EVS Products includes the EVS Codec, which comprises the

disclosed perceptual weighting device of representative Claim 4 of the ‘524 Patent.

       64.     The EVS Codec in the Huawei EVS Products complies with the EVS Standard.

       65.     The EVS Codec processes a speech signal sampled at approximately 16,000

samples/second (i.e., a wideband signal). [See, e.g., Ex. A (3GPP TS 26.445/ETSI TS 126.445), at

Table 19].

       66.     The EVS Standard includes a perceptual weighting device for producing a

perceptually weighted signal in response to a wideband speech signal in order to reduce a

difference between the wideband speech signal and a subsequently synthesized wideband speech

signal. [See, e.g., Ex. A, at sections 1, 3.1, 4.1, 4.2, 5.1.10, 5.1.14.1.1.1, 5.2.1, and corresponding

portions of the EVS Reference Code].

       67.     The perceptual weighting device of the EVS Standard comprises (a) a signal

preemphasis filter responsive to the wideband speech signal for enhancing a high frequency

content of the wideband speech signal to thereby produce a preemphasised signal [See, e.g., Ex.

A, at section 5.1.4, and corresponding portions of the EVS Reference Code]; (b) a synthesis filter

calculator responsive to said preemphasised signal for producing synthesis filter coefficients [See,

e.g., Ex. A, at sections 5.1.9, 5.2.1, and corresponding portions of the EVS Reference Code]; and

(c) a perceptual weighting filter, responsive to said preemphasised signal and said synthesis filter

coefficients, for filtering said preemphasised signal in relation to said synthesis filter coefficients

to thereby produce said perceptually weighted signal, said perceptual weighting filter having a

transfer function with fixed denominator whereby weighting of said wideband speech signal in a




                                                  15
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 17 of 35 PageID #: 240



formant region is substantially decoupled from a spectral tilt of said wideband speech signal [See,

e.g., Ex. A, at sections 5.1.10.1, 5.2.1, and corresponding portions of the EVS Reference Code].

          68.      In the EVS Standard, the signal preemphasis filter has a transfer function of the

form P(z) = 1 – µz-1, where µ is a preemphasis factor having a value located between 0 and 1. [See,

e.g., Ex. A, at section 5.1.4, and corresponding portions of the EVS Reference Code].

          69.      In the EVS Standard, the perceptual weighting filter has a transfer function of the

form W(z) = A(z/γ1)/(1 – γ2z-1), where 0 < γ2 < γ1 ≤ 1 and γ2 and γ1 are weighting control values.

[See, e.g., Ex. A, at sections 5.1.10.1, 5.2.1 and corresponding portions of the EVS Reference

Code].

          70.      In addition to its direct infringement, Huawei has been and is now indirectly

infringing by way of inducing infringement and/or contributing to the infringement of the claims

of the ‘524 Patent in the State of Texas, in this judicial district, and elsewhere within the United

States by, among other things, making, using, licensing, selling, offering for sale, or importing

infringing Huawei EVS Products, covered by one or more claims of the ‘524 Patent, all to the

injury of Plaintiffs. In the case of such infringement, the users of the Huawei EVS Products are

the direct infringers of the ‘524 Patent. Huawei advertises and promotes its Huawei EVS Products

on its website. 5 Huawei provides, makes, uses, licenses, sells, and offers its Huawei EVS Products

for sale with the specific intent that its customers use those phones in an infringing manner. Huawei

sells or offers to sell its Huawei EVS Products for use in practicing the processes patented by the

‘524 Patent. The EVS Codec has no substantial non-infringing uses and is known by Huawei to

be especially made or especially adapted for use in an infringement of the ‘524 Patent by




5
    See, e.g., https://consumer.huawei.com/en/support/phones/.


                                                         16
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 18 of 35 PageID #: 241



complying with the EVS Standard. Huawei’s acts of infringement have been willful, deliberate,

and in reckless disregard of Plaintiffs’ patent rights.

        71.    The acts of infringement by Defendants have caused damage to Plaintiffs, and ECT

is entitled to recover from Defendants the damages sustained by Plaintiffs as a result of

Defendants’ wrongful acts in an amount subject to proof at trial. The infringement of ECT’s

exclusive rights under the ’524 Patent by Defendants has damaged and will continue to damage

Plaintiffs.

        72.    Upon information and belief, Defendants actually knew of, or were willfully blind

to, the existence of the ’524 Patent, yet Defendants continue to infringe said patent. The

infringement of the ’524 Patent by Defendants is willful and deliberate, and with full knowledge

of the patent, entitling ECT to increased damages under 35 U.S.C. § 284 and to attorneys’ fees and

costs incurred in prosecuting this action under 35 U.S.C. § 285.

              COUNT III: INFRINGEMENT OF U.S. PATENT NO. 7,151,802

        73.    On December 19, 2006, the USPTO duly and legally issued United States Patent

No. 7,151,802 (“the ’802 Patent”), entitled “High Frequency Content Recovering Method and

Device for Over-Sampled Synthesized Wideband Signal.” SLC is the owner of the ‘802 Patent.

ECT is the exclusive licensee of the ‘802 Patent, as it has been granted the exclusive right to license

products practicing the EVS Standard to the ‘802 Patent for an unlimited duration, has the right to

practice the EVS Standard, has the right to exclude others from making, selling, offering to sell,

using or importing products that practice the ‘802 Patent, and has the right to sue for and collect

past, present and future damages for infringement of the ‘802 Patent with respect to the EVS

Standard. As such, Huawei’s infringement described below has injured, and continues to injure,

ECT.




                                                  17
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 19 of 35 PageID #: 242



          74.   As alleged above, Huawei had actual notice of the ‘802 Patent and of its

infringement of that patent.

          75.   Upon information and belief, Huawei has infringed directly and continues to

infringe directly the ’802 Patent.     The infringing acts include, but are not limited to, the

manufacture, use, sale, importation, and/or offer for sale of the Huawei EVS Products in the United

States.

          76.   Huawei EVS Products include any Huawei Product that contains the EVS Codec,

including at least the Huawei Ultra HD Voice (or HD Voice+) capable products manufactured,

used, imported, offered for sale, and/or sold in the United States including, but not limited to, the

following: Huawei Mate 9, Huawei Mate 9 Pro, Porsche Design Huawei Mate 9, Porsche Design

Huawei Mate 10, Huawei Mate 10 Pro, Huawei Mate 20, Huawei Mate 20X, Huawei Mate 20 Pro,

Porsche Design Huawei Mate 20 RS, Huawei P10, Huawei P10 Premium Edition, Huawei P10

Plus, Huawei P10 Plus Premium Edition, Huawei P20, Huawei P20 Pro, Porsche Design Huawei

Mate RS, Huawei MediaPad M5 8.4 inch, Huawei MediaPad M5 10.8 inch, Huawei MediaPad

M5 Pro, Huawei Elate, Huawei Ascend XT, Huawei Sensa LTE, Huawei Y7 Prime, Huawei Y7,

Huawei Y6, Huawei Y6 Prime, Huawei Y6 Pro, Huawei Y7 Prime, Huawei Y7 Pro, Huawei Mate

X, Huawei Nova 4, Huawei Enjoy 9, Huawei Nova 3, Huawei Y5 Lite, and any Huawei products

that contain the EVS Codec including, but not limited to, Huawei phones containing the HiSilicon

Kirin 960 System-on-Chip (“SOC”), the HiSilicon Kirin 970 SOC, HiSilicon Kirin 980 SOC,

Qualcomm Snapdragon X6 LTE Modem, the Qualcomm Snapdragon X9 LTE Modem, Qualcomm

Snapdragon X12 LTE Modem, the Qualcomm Snapdragon X15 LTE Modem, the Qualcomm

Snapdragon X16 LTE Modem, the Qualcomm Snapdragon X20 LTE Modem, the Qualcomm

Snapdragon X24 LTE Modem, or MediaTek 4G LTE modems or WorldMode Modems (used for




                                                 18
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 20 of 35 PageID #: 243



example, in MediaTek Helio X30, MT6595, MT8785, MediaTek Helio P23, MediaTek Helio X27,

MediaTek Helio X25, MediaTek Helio X23, MediaTek Helio X20, MediaTek Helio X10,

MediaTek Helio P60, MediaTek Helio P30, MediaTek Helio P23, MediaTek Helio P22, MediaTek

Helio A22, MT6573, MT6752, MT6750, MT6739, MT6738, MT6737T, MT6737, MT6735,

MT6732, MT6595, MT6592).

       77.     On information and belief, these products are among the larger range of Huawei

EVS Products, each of which practices and/or is capable of practicing the ‘802 Patent.

       78.     For example, the Huawei EVS Products practice and/or are capable of practicing at

least representative claim 1 of U.S. Patent No. 7,151,802.

       79.     Claim 1 of the ‘802 Patent discloses a decoder for producing a synthesized

wideband signal, comprising: a) a signal fragmenting device for receiving an encoded version of

a wideband signal previously down-sampled during encoding and extracting from said encoded

wideband signal version at least pitch codebook parameters, innovative codebook parameters, and

linear prediction filter coefficients; b) a pitch codebook responsive to said pitch codebook

parameters for producing a pitch codevector; c) an innovative codebook responsive to said

innovative codebook parameters for producing an innovative codevector; d) a combiner circuit for

combining said pitch codevector and said innovative codevector to thereby produce an excitation

signal; e) a signal synthesis device including a linear prediction filter for filtering said excitation

signal in relation to said linear prediction filter coefficients to thereby produce a synthesized

wideband signal, and an oversampler responsive to said synthesized wideband signal for producing

an over-sampled signal version of the synthesized wideband signal; and f) a high-frequency

content recovering device. This high-frequency content recovering device further comprises: i) a

random noise generator for producing a noise sequence having a given spectrum; ii) a spectral




                                                  19
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 21 of 35 PageID #: 244



shaping unit for shaping the spectrum of the noise sequence in relation to linear prediction filter

coefficients related to said down-sampled wideband signal; and iii) a signal injection circuit for

injecting said spectrally-shaped noise sequence in said over-sampled synthesized signal version to

thereby produce said full-spectrum synthesized wideband signal.

       80.     Each of the Huawei EVS Products includes the EVS Codec, which comprises the

disclosed device for enhancing periodicity of representative Claim 1 of the ‘802 Patent.

       81.     The EVS Codec in the Huawei EVS Products complies with the EVS Standard.

       82.     The EVS Codec processes a speech signal sampled at approximately 16,000

samples/second (i.e., a wideband signal). [See, e.g., Ex. A (3GPP TS 26.445/ETSI TS 126.445), at

Table 19].

       83.     The EVS Standard includes a decoder for producing a synthesized wideband signal.

[See, e.g., Ex. A, at sections 1, 4.1, 4.2, 5.1.14, 5.2.6.2.2, 6.1.1 and corresponding portions of the

EVS Reference Code].

       84.     The decoder of the EVS Standard comprises a) a signal fragmenting device for

receiving an encoded version of a wideband signal previously down-sampled during encoding and

extracting from said encoded wideband signal version at least pitch codebook parameters,

innovative codebook parameters, and linear prediction filter coefficients [See, e.g., Ex. A, at

sections 4.1, 4.2, 5.1.3, 4.4.2, 6.1.1, and corresponding portions of the EVS Reference Code]; b) a

pitch codebook responsive to said pitch codebook parameters for producing a pitch codevector

[See, e.g., Ex. A, at section 5.2.3.1.4.1, and corresponding portions of the EVS Reference Code];

c) an innovative codebook responsive to said innovative codebook parameters for producing an

innovative codevector [See, e.g., Ex. A, at sections 5.2.3.1, 6.1.1.2.1.4, Fig. 25 and corresponding

portions of the EVS Reference Code]; d) a combiner circuit for combining said pitch codevector




                                                 20
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 22 of 35 PageID #: 245



and said innovative codevector to thereby produce an excitation signal [See, e.g., Ex. A, at section

6.1.1.2.1.8, and corresponding portions of the EVS Reference Code]; e) a signal synthesis device

including a linear prediction filter for filtering said excitation signal in relation to said linear

prediction filter coefficients to thereby produce a synthesized wideband signal, and an oversampler

responsive to said synthesized wideband signal for producing an over-sampled signal version of

the synthesized wideband signal [See, e.g., Ex. A, at section 5.2.6.2.2 (referencing TS 26.190 at

6.1.3, 6.2), and corresponding portions of the EVS Reference Code]; and f) a high-frequency

content recovering device [See, e.g., Ex. A, at section 5.2.6.2.2 (referencing TS 26.190 at 6.3), and

corresponding portions of the EVS Reference Code].

       85.     The high frequency content recovering device of the EVS Standard includes i) a

random noise generator for producing a noise sequence having a given spectrum [See, e.g., Ex. A,

at section 5.2.6.2.2 (referencing TS 26.190 at 6.3.1), and corresponding portions of the EVS

Reference Code]; ii) a spectral shaping unit for shaping the spectrum of the noise sequence in

relation to linear prediction filter coefficients related to said down-sampled wideband signal [See,

e.g., Ex. A, at section 5.2.6.2.2 (referencing TS 26.190 at 6.3.2.2), and corresponding portions of

the EVS Reference Code]; and iii) a signal injection circuit for injecting said spectrally-shaped

noise sequence in said over-sampled synthesized signal version to thereby produce said full-

spectrum synthesized wideband signal [See, e.g., Ex. A, at section 5.2.6.2.2 (referencing TS 26.190

at 6.3.3), and corresponding portions of the EVS Reference Code].

       86.     In addition to its direct infringement, Huawei has been and is now indirectly

infringing by way of inducing infringement and/or contributing to the infringement of the claims

of the ‘802 Patent in the State of Texas, in this judicial district, and elsewhere within the United

States by, among other things, making, using, licensing, selling, offering for sale, or importing




                                                 21
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 23 of 35 PageID #: 246



infringing Huawei EVS Products, covered by one or more claims of the ‘802 Patent, all to the

injury of Plaintiffs. In the case of such infringement, the users of the Huawei EVS Products are

the direct infringers of the ‘802 Patent. Huawei advertises and promotes its Huawei EVS Products

on its website. 6 Huawei provides, makes, uses, licenses, sells, and offers its Huawei EVS Products

for sale with the specific intent that its customers use those phones in an infringing manner. Huawei

sells or offers to sell its Huawei EVS Products for use in practicing the processes patented by the

‘802 Patent. The EVS Codec has no substantial non-infringing uses and is known by Huawei to

be especially made or especially adapted for use in an infringement of the ‘802 Patent by

complying with the EVS Standard. Huawei’s acts of infringement have been willful, deliberate,

and in reckless disregard of Plaintiffs’ patent rights.

          87.      The acts of infringement by Defendants have caused damage to Plaintiffs, and ECT

is entitled to recover from Defendants the damages sustained by Plaintiffs as a result of

Defendants’ wrongful acts in an amount subject to proof at trial. The infringement of ECT’s

exclusive rights under the ’802 Patent by Defendants has damaged and will continue to damage

Plaintiffs.

          88.      Upon information and belief, Defendants actually knew of, or were willfully blind

to, the existence of the ’802 Patent, yet Defendants continue to infringe said patent. The

infringement of the ’802 Patent by Defendants is willful and deliberate, and with full knowledge

of the patent, entitling Plaintiffs to increased damages under 35 U.S.C. § 284 and to attorneys’ fees

and costs incurred in prosecuting this action under 35 U.S.C. § 285.




6
    See, e.g., https://consumer.huawei.com/en/support/phones/.


                                                         22
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 24 of 35 PageID #: 247



                COUNT IV: INFRINGEMENT OF U.S. PATENT NO. 7,260,521

          89.   On August 21, 2007, the USPTO duly and legally issued United States Patent No.

7,260,521 (“the ’521 Patent”), entitled “Method and Device for Adaptive Bandwidth Pitch Search

in Coding Wideband Signals.” SLC is the owner of the ‘521 Patent. ECT is the exclusive licensee

of the ‘521 Patent, as it has been granted the exclusive right to license products practicing the EVS

Standard to the ‘521 Patent for an unlimited duration, has the right to practice the EVS Standard,

has the right to exclude others from making, selling, offering to sell, using or importing products

that practice the ‘521 Patent, and has the right to sue for and collect past, present and future

damages for infringement of the ‘521 Patent with respect to the EVS Standard. As such, Huawei’s

infringement described below has injured, and continues to injure, ECT.

          90.   As alleged above, Huawei had actual notice of the ‘521 Patent and of its

infringement of that patent.

          91.   Upon information and belief, Huawei has infringed directly and continues to

infringe directly the ’521 Patent.     The infringing acts include, but are not limited to, the

manufacture, use, sale, importation, and/or offer for sale of the Huawei EVS Products in the United

States.

          92.   Huawei EVS Products include any Huawei Product that contains the EVS Codec,

including at least the Huawei Ultra HD Voice (or HD Voice+) capable products manufactured,

used, imported, offered for sale, and/or sold in the United States including, but not limited to, the

following: Huawei Mate 9, Huawei Mate 9 Pro, Porsche Design Huawei Mate 9, Porsche Design

Huawei Mate 10, Huawei Mate 10 Pro, Huawei Mate 20, Huawei Mate 20X, Huawei Mate 20 Pro,

Porsche Design Huawei Mate 20 RS, Huawei P10, Huawei P10 Premium Edition, Huawei P10

Plus, Huawei P10 Plus Premium Edition, Huawei P20, Huawei P20 Pro, Porsche Design Huawei




                                                 23
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 25 of 35 PageID #: 248



Mate RS, Huawei MediaPad M5 8.4 inch, Huawei MediaPad M5 10.8 inch, Huawei MediaPad

M5 Pro, Huawei Elate, Huawei Ascend XT, Huawei Sensa LTE, Huawei Y7 Prime, Huawei Y7,

Huawei Y6, Huawei Y6 Prime, Huawei Y6 Pro, Huawei Y7 Prime, Huawei Y7 Pro, Huawei Mate

X, Huawei Nova 4, Huawei Enjoy 9, Huawei Nova 3, Huawei Y5 Lite, and any Huawei products

that contain the EVS Codec including, but not limited to, Huawei phones containing the HiSilicon

Kirin 960 System-on-Chip (“SOC”), the HiSilicon Kirin 970 SOC, HiSilicon Kirin 980 SOC,

Qualcomm Snapdragon X6 LTE Modem, the Qualcomm Snapdragon X9 LTE Modem, Qualcomm

Snapdragon X12 LTE Modem, the Qualcomm Snapdragon X15 LTE Modem, the Qualcomm

Snapdragon X16 LTE Modem, the Qualcomm Snapdragon X20 LTE Modem, the Qualcomm

Snapdragon X24 LTE Modem, or MediaTek 4G LTE modems or WorldMode Modems (used for

example, in MediaTek Helio X30, MT6595, MT8785, MediaTek Helio P23, MediaTek Helio X27,

MediaTek Helio X25, MediaTek Helio X23, MediaTek Helio X20, MediaTek Helio X10,

MediaTek Helio P60, MediaTek Helio P30, MediaTek Helio P23, MediaTek Helio P22, MediaTek

Helio A22, MT6573, MT6752, MT6750, MT6739, MT6738, MT6737T, MT6737, MT6735,

MT6732, MT6595, MT6592).

       93.     On information and belief, these products are among the larger range of Huawei

EVS Products, each of which practices and/or is capable of practicing the ‘521 Patent.

       94.     For example, the Huawei EVS Products practice and/or are capable of practicing at

least representative claim 2 of U.S. Patent No. 7,260,521.

       95.     Claim 2 of the ‘521 Patent discloses a pitch analysis device for producing a set of

pitch codebook parameters comprising a pitch codebook search device configured to generate a

pitch codevector based on a digitized input audio data, wherein said digitized input audio data

represents an input audio signal that has been sampled and digitized. Claim 2 further discloses at




                                               24
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 26 of 35 PageID #: 249



least two signal paths associated to respective sets of pitch codebook parameters representative of

said digitized input audio data, wherein each signal path comprises a pitch prediction error

calculating device for calculating a pitch prediction error of said pitch codevector from said pitch

codebook search device, and at least one of said at least two signal paths comprises a filter for

filtering the pitch codevector before supplying said pitch codevector to the pitch prediction error

calculating device of said at least one signal path. Claim 2 also discloses a selector for comparing

the pitch prediction errors calculated in said at least two signal paths, for choosing the signal path

having the lowest calculated pitch prediction error and for selecting the set of pitch codebook

parameters associated to the chosen signal path. Claim 2 further discloses one of said at least two

signal paths comprises no filter for filtering the pitch codevector before supplying said pitch

codevector to the pitch prediction error calculating device.

       96.     Each of the Huawei EVS Products includes the EVS Codec, which comprises the

disclosed pitch analysis device of representative Claim 2 of the ‘521 Patent.

       97.     The EVS Codec in the Huawei EVS Products complies with the EVS Standard.

       98.     The EVS Codec processes a speech signal sampled at approximately 16,000

samples/second (i.e., a wideband signal). [See, e.g., Ex. A (3GPP TS 26.445/ETSI TS 126.445), at

Table 19].

       99.     The EVS Standard includes a pitch analysis device for producing a set of pitch

codebook parameters. [See, e.g., Ex. A, at sections 1, 3.1, 4.1, 4.2, 4.4.1.1, 5.2, and corresponding

portions of the EVS Reference Code].

       100.    The pitch analysis device of the EVS Standard includes a pitch codebook search

device configured to generate a pitch codevector based on a digitized input audio data, wherein

said digitized input audio data represents an input audio signal that has been sampled and digitized.




                                                 25
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 27 of 35 PageID #: 250



[See, e.g., Ex. A, at sections 4.2, 5.2, Fig. 25, and corresponding portions of the EVS Reference

Code].

         101.   The EVS Standard includes at least two signal paths associated to respective sets

of pitch codebook parameters representative of said digitized input audio data. [See, e.g., Ex. A, at

section 5.2.3.1.4, and corresponding portions of the EVS Reference Code]. Each signal path

comprises a pitch prediction error calculating device for calculating a pitch prediction error of said

pitch codevector from said pitch codebook search device. [See, e.g., Ex. A, at section 5.2.3.1.4,

and corresponding portions of the EVS Reference Code].

         102.   In the EVS Standard, at least one of said at least two signal paths comprises a filter

for filtering the pitch codevector before supplying said pitch codevector to the pitch prediction

error calculating device of said at least one signal path. [See, e.g., Ex. A, at section 5.2.3.1.4, Table

37 and corresponding portions of the EVS Reference Code].

         103.   The EVS Standard includes a selector for comparing the pitch prediction errors

calculated in said at least two signal paths, for choosing the signal path having the lowest calculated

pitch prediction error and for selecting the set of pitch codebook parameters associated to the

chosen signal path. [See, e.g., Ex. A, at section 5.2.3.1.4, Table 37 and corresponding portions of

the EVS Reference Code].

         104.   In the EVS Standard, one of said at least two signal paths comprises no filter for

filtering the pitch codevector before supplying said pitch codevector to the pitch prediction error

calculating device. [See, e.g., Ex. A, at section 5.2.3.1.4, Table 37 and corresponding portions of

the EVS Reference Code].

         105.   In addition to its direct infringement, Huawei has been and is now indirectly

infringing by way of inducing infringement and/or contributing to the infringement of the claims




                                                   26
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 28 of 35 PageID #: 251



of the ‘521 Patent in the State of Texas, in this judicial district, and elsewhere within the United

States by, among other things, making, using, licensing, selling, offering for sale, or importing

infringing Huawei EVS Products, covered by one or more claims of the ‘521 Patent, all to the

injury of Plaintiffs. In the case of such infringement, the users of the Huawei EVS Products are

the direct infringers of the ‘521 Patent. Huawei advertises and promotes its Huawei EVS Products

on its website. 7 Huawei provides, makes, uses, licenses, sells, and offers its Huawei EVS Products

for sale with the specific intent that its customers use those phones in an infringing manner. Huawei

sells or offers to sell its Huawei EVS Products for use in practicing the processes patented by the

‘521 Patent. The EVS Codec has no substantial non-infringing uses and is known by Huawei to

be especially made or especially adapted for use in an infringement of the ‘521 Patent by

complying with the EVS Standard. Huawei’s acts of infringement have been willful, deliberate,

and in reckless disregard of Plaintiffs’ patent rights.

          106.     The acts of infringement by Defendants have caused damage to Plaintiffs, and ECT

is entitled to recover from Defendants the damages sustained by Plaintiffs as a result of

Defendants’ wrongful acts in an amount subject to proof at trial. The infringement of ECT’s

exclusive rights under the ’521 Patent by Defendants has damaged and will continue to damage

Plaintiffs.

          107.     Upon information and belief, Defendants actually knew of, or were willfully blind

to, the existence of the ’521 Patent, yet Defendants continue to infringe said patent. The

infringement of the ’521 Patent by Defendants is willful and deliberate, and with full knowledge

of the patent, entitling Plaintiffs to increased damages under 35 U.S.C. § 284 and to attorneys’ fees

and costs incurred in prosecuting this action under 35 U.S.C. § 285.



7
    See, e.g., https://consumer.huawei.com/en/support/phones/.


                                                         27
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 29 of 35 PageID #: 252



                 COUNT V: INFRINGEMENT OF U.S. PATENT NO. 7,191,123

          108.   On March 13, 2007, the USPTO duly and legally issued United States Patent No.

7,191,123 (“the ’123 Patent”), entitled “Gain-Smoothing in Wideband Speech and Audio Signal

Decoder.” SLC is the owner of the ‘123 Patent. ECT is the exclusive licensee of the ‘123 Patent,

as it has been granted the exclusive right to license products practicing the EVS Standard to the

‘123 Patent for an unlimited duration, has the right to practice the EVS Standard, has the right to

exclude others from making, selling, offering to sell, using or importing products that practice the

‘123 Patent, and has the right to sue for and collect past, present and future damages for

infringement of the ‘123 Patent with respect to the EVS Standard. As such, Huawei’s infringement

described below has injured, and continues to injure, ECT.

          109.   As alleged above, Huawei had actual notice of the ‘123 Patent and of its

infringement of that patent.

          110.   Upon information and belief, Huawei has infringed directly and continues to

infringe directly the ’123 Patent.     The infringing acts include, but are not limited to, the

manufacture, use, sale, importation, and/or offer for sale of the Huawei EVS Products in the United

States.

          111.   Huawei EVS Products include any Huawei Product that contains the EVS Codec,

including at least the Huawei Ultra HD Voice (or HD Voice+) capable products manufactured,

used, imported, offered for sale, and/or sold in the United States including, but not limited to, the

following: Huawei Mate 9, Huawei Mate 9 Pro, Porsche Design Huawei Mate 9, Porsche Design

Huawei Mate 10, Huawei Mate 10 Pro, Huawei Mate 20, Huawei Mate 20X, Huawei Mate 20 Pro,

Porsche Design Huawei Mate 20 RS, Huawei P10, Huawei P10 Premium Edition, Huawei P10

Plus, Huawei P10 Plus Premium Edition, Huawei P20, Huawei P20 Pro, Porsche Design Huawei




                                                 28
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 30 of 35 PageID #: 253



Mate RS, Huawei MediaPad M5 8.4 inch, Huawei MediaPad M5 10.8 inch, Huawei MediaPad

M5 Pro, Huawei Elate, Huawei Ascend XT, Huawei Sensa LTE, Huawei Y7 Prime, Huawei Y7,

Huawei Y6, Huawei Y6 Prime, Huawei Y6 Pro, Huawei Y7 Prime, Huawei Y7 Pro, Huawei Mate

X, Huawei Nova 4, Huawei Enjoy 9, Huawei Nova 3, Huawei Y5 Lite, and any Huawei products

that contain the EVS Codec including, but not limited to, Huawei phones containing the HiSilicon

Kirin 960 System-on-Chip (“SOC”), the HiSilicon Kirin 970 SOC, HiSilicon Kirin 980 SOC,

Qualcomm Snapdragon X6 LTE Modem, the Qualcomm Snapdragon X9 LTE Modem, Qualcomm

Snapdragon X12 LTE Modem, the Qualcomm Snapdragon X15 LTE Modem, the Qualcomm

Snapdragon X16 LTE Modem, the Qualcomm Snapdragon X20 LTE Modem, the Qualcomm

Snapdragon X24 LTE Modem, or MediaTek 4G LTE modems or WorldMode Modems (used for

example, in MediaTek Helio X30, MT6595, MT8785, MediaTek Helio P23, MediaTek Helio X27,

MediaTek Helio X25, MediaTek Helio X23, MediaTek Helio X20, MediaTek Helio X10,

MediaTek Helio P60, MediaTek Helio P30, MediaTek Helio P23, MediaTek Helio P22, MediaTek

Helio A22, MT6573, MT6752, MT6750, MT6739, MT6738, MT6737T, MT6737, MT6735,

MT6732, MT6595, MT6592).

       112.    On information and belief, these products are among the larger range of Huawei

EVS Products, each of which practices and/or is capable of practicing the ‘123 Patent.

       113.    For example, the Huawei EVS Products practice and/or are capable of practicing at

least representative claim 102 of U.S. Patent No. 7,191,123.

       114.    Claim 102 of the ‘123 Patent discloses a device for producing a gain-smoothed

codevector during decoding of an encoded wideband signal from a set of wideband signal encoding

parameters, said device comprising: means for finding a codevector in relation to at least one first

wideband signal encoding parameter of said set; means for calculating a factor representative of




                                                29
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 31 of 35 PageID #: 254



voicing in the wideband signal in response to at least one second wideband signal encoding

parameter of said set; means for calculating a smoothing gain using a non linear operation based

on said voicing representative factor; and means for amplifying the found codevector with said

smoothing gain to thereby produce said gain-smoothed codevector.

         115.   Each of the Huawei EVS Products includes the EVS Codec, which comprises the

disclosed device for producing a gain-smoothed codevector of representative Claim 102 of the

‘123 Patent.

         116.   The EVS Codec in the Huawei EVS Products complies with the EVS Standard.

         117.   The EVS Codec processes a speech signal sampled at approximately 16,000

samples/second (i.e., a wideband signal). [See, e.g., Ex. A (3GPP TS 26.445/ETSI TS 126.445), at

Table 19].

         118.   The EVS Standard includes a device for producing a gain-smoothed codevector

during decoding of an encoded wideband signal from a set of wideband signal encoding

parameters. [See, e.g., Ex. A, at sections 1, 4.1, 4.2, 6.1, and corresponding portions of the EVS

Reference Code].

         119.   The device for producing a gain-smoothed codevector of EVS Standard includes

means for finding a codevector in relation to at least one first wideband signal encoding parameter

of said set. [See, e.g., Ex. A, at section 6.1, and corresponding portions of the EVS Reference

Code].

         120.   The device for producing a gain-smoothed codevector of EVS Standard further

includes means for calculating a factor representative of voicing in the wideband signal in response

to at least one second wideband signal encoding parameter of said set. [See, e.g., Ex. A, at sections

6.1.1.2, 6.1.1.3.2 and corresponding portions of the EVS Reference Code].




                                                 30
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 32 of 35 PageID #: 255



          121.     The device for producing a gain-smoothed codevector of EVS Standard includes

means for calculating a smoothing gain using a non-linear operation based on said voicing

representative factor. [See, e.g., Ex. A, at sections 6.1.1.2.1.7, 6.1.1.3.2 and corresponding portions

of the EVS Reference Code].

          122.     The device for producing a gain-smoothed codevector of EVS Standard includes

means for amplifying the found codevector with said smoothing gain to thereby produce said gain-

smoothed codevector. [See, e.g., Ex. A, at section 6.1.1.2.1.8, and corresponding portions of the

EVS Reference Code].

          123.     In addition to its direct infringement, Huawei has been and is now indirectly

infringing by way of inducing infringement and/or contributing to the infringement of the claims

of the ‘123 Patent in the State of Texas, in this judicial district, and elsewhere within the United

States by, among other things, making, using, licensing, selling, offering for sale, or importing

infringing Huawei EVS Products, covered by one or more claims of the ‘123 Patent, all to the

injury of Plaintiffs. In the case of such infringement, the users of the Huawei EVS Products are

the direct infringers of the ‘123 Patent. Huawei advertises and promotes its Huawei EVS Products

on its website. 8 Huawei provides, makes, uses, licenses, sells, and offers its Huawei EVS Products

for sale with the specific intent that its customers use those phones in an infringing manner. Huawei

sells or offers to sell its Huawei EVS Products for use in practicing the processes patented by the

‘123 Patent. The EVS Codec has no substantial non-infringing uses and is known by Huawei to

be especially made or especially adapted for use in an infringement of the ‘123 Patent by

complying with the EVS Standard. Huawei’s acts of infringement have been willful, deliberate,

and in reckless disregard of Plaintiffs’ patent rights.



8
    See, e.g., https://consumer.huawei.com/en/support/phones/.


                                                         31
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 33 of 35 PageID #: 256



        124.   The acts of infringement by Defendants have caused damage to Plaintiffs, and ECT

is entitled to recover from Defendants the damages sustained by Plaintiffs as a result of

Defendants’ wrongful acts in an amount subject to proof at trial. The infringement of ECT’s

exclusive rights under the ’123 Patent by Defendants has damaged and will continue to damage

Plaintiffs.

        125.   Upon information and belief, Defendants actually knew of, or were willfully blind

to, the existence of the ’123 Patent, yet Defendants continue to infringe said patent. The

infringement of the ’123 Patent by Defendants is willful and deliberate, and with full knowledge

of the patent, entitling Plaintiffs to increased damages under 35 U.S.C. § 284 and to attorneys’ fees

and costs incurred in prosecuting this action under 35 U.S.C. § 285.

                                        JURY DEMAND

        126.   Plaintiffs hereby demand a trial by jury on all issues.




                                                 32
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 34 of 35 PageID #: 257



                                    PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs request entry of judgment in its favor and against Defendants as

   follows:

      a. A declaration that Defendants have infringed and are infringing the ’805, ’524, ’802,

          ’521, and ’123 Patents;

      b. A declaration that Defendants have willfully infringed the ’805, ’524, ’802, ’521, and

          ’123 Patents;

      c. An award of damages to ECT arising out of Defendants’ infringement of the ’805, ’524,

          ’802, ’521, and ’123 Patents, including enhanced damages pursuant to 35 U.S.C. § 284,

          together with prejudgment and post-judgment interest, in an amount according to proof;

      d. An award of attorneys’ fees pursuant to 35 U.S.C. § 285 or as otherwise permitted by

          law;

      e. An award to Plaintiffs of their costs; and

      f. Such other and further relief, whether legal, equitable, or otherwise, to which Plaintiffs

          may be entitled or which this Court may order.




                                               33
Case 2:18-cv-00346-JRG Document 37 Filed 03/25/19 Page 35 of 35 PageID #: 258



 Dated: March 25, 2019                     Respectfully submitted,

                                           /s/ Demetrios Anaipakos          .
                                           Demetrios Anaipakos
                                           Texas Bar No. 00793258
                                           danaipakos@azalaw.com
                                           Amir Alavi
                                           Texas Bar No. 00793239
                                           aalavi@azalaw.com
                                           Brian E. Simmons
                                           Texas Bar No. 24004922
                                           bsimmons@azalaw.com
                                           Masood Anjom
                                           Texas Bar No. 24055107
                                           manjom@azalaw.com
                                           Michael McBride
                                           Texas Bar No. 24065700
                                           mmcbride@azalaw.com
                                           Scott W. Clark
                                           Texas Bar No. 24007003
                                           sclark@azalaw.com
                                           Alisa A. Lipski
                                           Texas Bar No. 24041345
                                           alipski@azalaw.com
                                           Weining Bai
                                           Texas Bar No. 24101477
                                           wbai@azalaw.com
                                           Justin Chen
                                           Texas Bar No. 24074024
                                           jchen@azalaw.com
                                           Michael Killingsworth
                                           Texas Bar No. 24110089
                                           mkillingsworth@azalaw.com
                                           AHMAD, ZAVITSANOS, ANAIPAKOS, ALAVI
                                                   & MENSING P.C.
                                           1221 McKinney Street, Suite 2500
                                           Houston, TX 77010
                                           Telephone: 713-655-1101
                                           Facsimile: 713-655-0062

                                           ATTORNEYS FOR PLAINTIFFS EVS
                                           CODEC TECHNOLOGIES, LLC and
                                           SAINT LAWRENCE
                                           COMMUNICATIONS, LLC




                                     34
